 Case 2:19-cv-10780-LVP-DRG ECF No. 7, PageID.19 Filed 07/23/19 Page 1 of 1




                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


DONNA WINCHESTER,

           Plaintiff,

     V.                                    CASE NO. 19-10780
                                           HON. LINDA V. PARKER

BLUESTEM BRANDS, INC.
d/b/a FINGERHUT,

           Defendant.
                                     /

                          ORDER OF DISMISSAL


     The Plaintiff having filed a Notice of Voluntary Dismissal [ECF No. 6] on July

22, 2019; Accordingly, the above-entitled action is DISMISSED WITHOUT

PREJUDICE.


                              s/Linda V. Parker
                              Linda V. Parker
                              United States District Judge

Dated: July 23, 2019
